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8
                                  UNITED STATES DISTRICT COURT
9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
12
     UNITED STATES OF AMERICA,                       )    No. CR 06-0144 JSW
13                                                   )
             Plaintiff,                              )
14                                                   )
        v.                                           )
15                                                   )    STIPULATION AND
     RENATO MENDOZA MEDINA,                          )    [PROPOSED] PROTECTIVE ORDER
16     a/k/a Rene Mendoza Medina,                    )
     PHYLLIS REYES CUISON,                           )
17     a/k/a Phyllis Cundangan Reyes, and            )
     RAWLIN CUNDANGAN REYES,                         )
18                                                   )
             Defendants.                             )
19                                                   )
20                                             STIPULATION
21           The United States and the defendants in this action, through undersigned counsel, hereby
22   stipulate and agree as follows:
23           1.      The United States is prepared to produce to each defendant’s counsel of record in
24   this matter discovery containing sensitive tax, personal and/or financial information of third
25   parties, subject to the following conditions.
26           2.      No defense counsel of record shall disclose any documents or information
27   produced by the United States to anyone except his or her client, any defense witnesses, experts
28   or investigators retained in this case, or any defense staff working on the case, and no defendant,
     defense witnesses, experts or investigators, or defense staff shall disclose such documents or
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1    information to anyone, absent further order of the Court.
2           3.      The documents and information described in paragraph 1 shall be used only to
3    prepare and evaluate the defense in this proceeding. Any person to whom the documents or
4    information are disclosed must be provided with a copy of this Stipulation and Order. The
5    materials provided to defense counsel pursuant to this order, and any copies thereof, shall be
6    returned to the government at the conclusion of this case.
7           4.      The documents described above shall not be copied at all unless copying is
8    necessary for preparation of the defense in this proceeding. Any copy of the materials that is
9    made shall be accompanied at all times by a copy of this Stipulation and Order. No document or
10   copy thereof shall be left with any defense witness.
11
12   DATED: 3/23/06                                 /S/ Christina Hua
                                                   CHRISTINA HUA
13                                                 Assistant United States Attorney
14
     DATED: 3/23/06                                 /S/ Cristina C. Arguedas
15                                                 CRISTINA C. ARGUEDAS
                                                   Counsel for Renato Mendoza Medina
16
17   DATED: 3/23/06                                  /S/ Lidia Stiglich
                                                   LIDIA STIGLICH
18                                                 Counsel for Rawlin Cundangan Reyes
19
     DATED: 3/23/06                                 /S/ Ann Moorman
20                                                 ANN MOORMAN
                                                   Counsel for Phyllis Reyes Cuison
21
22                                                 ORDER
23          In light of the stipulation and agreement of the parties to this action, and good cause
24   appearing therefor, it is HEREBY ORDERED that disclosure of the above-described information
25   shall be restricted as set forth in Paragraphs 1 through 4 above.
26
27
28   DATED: March 27, 2006                                  ____________________________
                                                            JEFFREY S. WHITE
                                                            United States District Judge
